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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                                    Case No. 0:17-cv-60599-WPD

  STEPHEN ARONSON,

         Plaintiff,

  v.

  MIDWEST RECOVERY SYSTEMS, LLC,
  AND O’BRIEN, WEXLER & ASSOCIATES, LLC,

        Defendants.
  __________________________________/


                                  DEFAULT FINAL JUDGMENT

         THIS CAUSE came before the Court upon the Motion for Final Default Judgment [DE

  12], which the Court granted today by separate Order. Pursuant to Federal Rule of Civil

  Procedure 58(A), the Court enters this separate final judgment.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

             1. The Motion for Default Final Judgment [DE 12] is GRANTED;

             2.    Judgment is hereby entered in favor of Plaintiff, STEPHEN ARONSON, and

                  against Defendants, MIDWEST RECOVERY SYSTEMS, LLC and O’BRIEN,

                  WEXLER & ASSOCIATES, LLC;

             3. Plaintiff, STEPHEN ARONSON, shall recover from Defendants, jointly and

                  severally, statutory damages in the amount of $1,000; attorney’s fees in the

                  amount of $3,000.00; costs in the amount of $513.20 for a sum total of $4,513.20.

                  Interest shall accrue on this judgment pursuant to 28 U.S.C. § 1961. For which

                  sum let execution issue.
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             4. The Clerk is directed to CLOSE this case and DENY any pending motions as

                moot.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 20th day of June,

  2017.




  Copies to:
  Counsel of record


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  Midwest Recovery Systems, LLC
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